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                   United States District Court
                    District of Massachusetts

                                    )
UNITED STATES of AMERICA,           )
                                    )
          v.                        )    Criminal Action No.
                                    )    18-10329-NMG
MIGUEL ANGEL MORALES TORRES,        )
                                    )
          Defendant.                )
                                    )

                         MEMORANDUM & ORDER

GORTON, J.

     Defendant Miguel Angel Morales Torres (“Morales Torres” or

“defendant”) has been indicted on one count of Possession with

Intent to Distribute One Kilogram or More of Heroin in violation

of 21 U.S.C. § 841(a)(1) and (b)(1)(A)(i).       The indictment also

includes a drug forfeiture allegation.

     Before the Court is defendant’s motion to suppress all

evidence obtained as a result of an automobile stop conducted in

August, 2018.   For the reasons that follow, that motion will be

denied.

I.   Background

     A.   The Facts

     In August, 2018, law enforcement officers from the Drug

Enforcement Administration (“the DEA”) engaged a cooperating

witness (“the CW”) to assist in the investigation of Cesar

Rodrigo Guerra-Garcia (“Guerra-Garcia”), a suspected multi-


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kilogram-level narcotics distributor.         The CW had been working

with the DEA for about a year and had previously provided

reliable and corroborated information to other law enforcement

agencies in other successful drug investigations.           In a series

of recorded telephone calls and text messages, Guerra-Garcia

agreed to deliver four kilograms of fentanyl to the CW in

Massachusetts for a total purchase price of $220,000.

     On August 18, 2018, Guerra-Garcia informed the CW that the

drugs would be delivered by a courier who was on his way to

Boston and that the courier would contact the CW to coordinate

the pickup.     On August 19, 2018, the CW received a telephone

call from the courier who spoke in Spanish.          They agreed to meet

in Boston.     Later that day, the CW received a telephone call

from Guerra-Garcia who informed the CW that the courier had

arrived in Boston and would meet the CW the following day around

noon.

     On August 20, 2018, the CW received another telephone call

from the courier.      In a series of calls and text messages, the

two arranged the address of 94 Granite Avenue, Milton,

Massachusetts, as the pickup location and agreed to meet around

noon.    Law enforcement began surveillance of the pickup site

shortly thereafter.

     Around 12:15 P.M., officers observed a white tractor

trailer drive slowly by a “park and ride” area near the pickup

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location.   They saw two Hispanic men in the vehicle who were

looking around as they passed the “park and ride” area.         The

tractor trailer briefly stopped at a parking lot past the pickup

location, turned around and drove back to the pickup location.

    Around that same time, the CW received a telephone call

from the courier who said that he was at the meeting location.

The officers then stopped the tractor trailer.        Morales Torres

was the driver of the vehicle.     He and his passenger each

presented their driver’s license to the officers.        The officers

reported that both men appeared nervous and had conflicting

stories about where they had come from and where they were

going.   The officers allege that defendant stated that they were

lost and trying to get to Boston while the passenger said that

they were trying to get to Rhode Island.       The officers claim

that when the men were asked for more specifics about their

destination, neither could answer.

    While the officers were speaking with Morales Torres and

the passenger, other law enforcement agents instructed the CW to

place several calls to the courier’s telephone.        The officers

speaking with defendant noticed that a cellphone inside the

tractor trailer rang multiple times during their conversation.

The officers then removed Morales Torres and the passenger from

the vehicle and conducted a search of the tractor trailer.            They

discovered a black plastic bag in a cabinet behind the driver’s

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seat which contained four packages of tan powder wrapped in

green cellophane and black tape.     A field-test of the powder

revealed that it contained heroin.      Morales Torres and the

passenger were arrested and transported to the State Police

Barracks in Boston, Massachusetts.

    B.   The Parties’ Arguments

    Defendant claims that the drugs and his subsequent

incriminating statements were obtained as the result of an

unlawful stop and search of the tractor trailer and thus should

be suppressed.    He contends that 1) the officers lacked

reasonable suspicion to stop the tractor trailer, 2) not enough

information is known about the CW to determine his or her

reliability and thus his or her information could not support a

finding of reasonable suspicion and 3) he was detained and his

vehicle was searched without probable cause.

    The government responds that the officers had reasonable

suspicion to stop the vehicle based on the totality of the

circumstances, particularly based on 1) the CW’s communications

with Guerra-Garcia and the courier in Spanish and 2) the DEA

agents’ observation of a tractor trailer arriving at the pickup

location at the same time the courier called the CW to announce

his arrival.     Moreover, the government asserts that the stop was

reasonable in both scope and duration.      Finally, the government

contends that the officers had probable cause to search the

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tractor trailer because a cellphone rang inside the vehicle at

the same time the CW placed several calls to the courier’s

telephone.

II.   Motion to Suppress

      A.   Legal Standard

      Even without probable cause to make an arrest, police

officers may conduct a brief investigatory stop for the purposes

of crime prevention and detection. Terry v. Ohio, 392 U.S. 1, 22

(1968); United States v. Jones, 700 F.3d 615, 621 (1st Cir.

2012) (applying to stops of automobiles).        Such encounters must

be justified at their inception and be reasonable in scope and

duration. United States v. Pontoo, 666 F.3d 20, 26 (1st Cir.

2011); United States v. McCarthy, 77 F.3d 522, 530 (1st Cir.

1996) (explaining that “whether a particular investigatory stop

is too long turns on a consideration of all relevant factors,

including the law enforcement purposes to be served by the

stop . . . [,] the time reasonably needed to effectuate those

purposes . . . [and] whether the police diligently pursued a

means of investigation that was likely to confirm or dispel

their suspicions quickly” (internal quotation marks omitted)

(quoting United States v. Sharpe, 470 U.S. 675, 685-86 (1985))).

An encounter is justified at its inception if the officer has

“reasonable, articulable suspicion that criminal activity is



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afoot.” United States v. Romain, 393 F.3d 63, 71 (1st Cir.

2004).

    In making a reasonable-suspicion determination, a court

    must look at the totality of the circumstances . . .
    to see whether the detaining officer has a
    particularized and objective basis for suspecting
    legal wrongdoing . . . . [O]fficers [may] draw on
    their own experience and specialized training to make
    inferences from and deductions about the cumulative
    information available to them.

United States v. Arvizu, 534 U.S. 266, 273 (2002) (internal

quotation marks and citations omitted); United States v. Trullo,

809 F.2d 108, 111 (1st Cir. 1987) (stating that “the

circumstances before [the officer] are not to be dissected and

viewed singly; rather they must be considered as a whole”

(alteration in original) (citing United States v. Magda, 547

F.2d 756, 758 (2d Cir. 1976), cert. denied, 434 U.S. 878

(1977))).   Although an officer must rely on more than a hunch,

the likelihood of criminal activity “need not rise to the level

required for probable cause”. Id.

    Reliable information from a confidential source can give

authorities the requisite reasonable suspicion to conduct a

Terry stop. United States v. Monteiro, 447 F.3d 39, 44 (1st Cir.

2006).

    Where officers have probable cause to believe that an

automobile contains contraband, they may conduct a warrantless

search of the vehicle and any containers therein and seize any

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such evidence. California v. Acevedo, 500 U.S. 565, 580 (1991).

This is known as the “automobile exception” to the general

warrant requirement of the Fourth Amendment to the United States

Constitution.   Probable cause exists where the totality of the

circumstances demonstrates “a fair probability that contraband

or evidence of a crime will be found in a particular place”.

United States v. Tanguay, 787 F.3d 44, 50 (1st Cir. 2015)

(quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)).

    If either the initial stop or subsequent search of the

vehicle is unlawful, any evidence seized as a result thereof

must be suppressed unless some exception to the exclusionary

rule applies. See United States v. Camacho, 661 F.3d 718, 728-29

(1st Cir. 2011).

    B.     Application

    The officers had reasonable suspicion to stop the tractor

trailer.   The officers knew that the courier was supposed to

arrive around noon at the pickup location because of his

communications with the CW.    The CW is apparently a reliable

source based on his or her previous cooperation with law

enforcement in other drug investigations and thus the

information provided by that source could provide the reasonable

suspicion necessary to stop the vehicle.

    The CW received a call from the courier around noon stating

that he had arrived at the pickup location and at that same time

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the officers observed the tractor trailer drive slowly past that

location.    The officers saw that two Hispanic men were in the

vehicle and knew that the courier had spoken to the CW in

Spanish.    Finally, they watched the tractor trailer drive past

the pickup location, turn around and drive back toward the

pickup location while the two men looked around for someone or

something.   Based on the totality of those facts, as well as the

training and experience of the investigating officers, they had

a particularized and objective basis to believe that the driver

of the vehicle or his passenger was the drug courier.

    Moreover, once stopped, the seizure of the tractor trailer

and its occupants was no longer than reasonably necessary to

effectuate the purpose of that stop.      While the stop lasted

about 10 minutes, the officers asked the occupants numerous

questions about their trip and where they were going in order to

determine whether either was the courier.       The fact that Morales

Torres and his passenger gave conflicting answers to those

inquiries entitled the officers to ask follow-up questions to

confirm or dispel their suspicion which reasonably prolonged the

length of the stop.    The officers also needed time to allow the

CW to call the courier’s telephone in order to determine whether

that phone was present in the vehicle.

    Finally, the officers had probable cause to search the

tractor trailer.    Not only were Morales Torres and his passenger

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acting nervous and giving suspicious answers but a cellphone

rang inside the vehicle several times throughout their

conversation while the CW was placing calls to the courier’s

telephone.   The combination of those circumstances would lead a

reasonable officer to believe there was a fair probability that

either Morales Torres or his passenger was the drug courier and

that the tractor trailer likely contained contraband.         The

officers were therefore entitled to detain them and search the

tractor trailer for narcotics even without a warrant.         Once the

officers discovered what they reasonably believed to be

narcotics, they were permitted to seize that evidence.

    Because neither the initial stop nor the subsequent search

of the tractor trailer was unlawful, none of the statements made

by defendant thereafter while in custody is excludable as “fruit

of the poisonous tree”. See Camacho, 661 F.3d at 728-29.

    Accordingly, defendant’s motion to suppress will be denied

in its entirety.

    C.   Evidentiary Hearing

    An evidentiary hearing is required only if the moving party

    makes a sufficient threshold showing that material facts
    are in doubt or dispute, and that such facts cannot
    reliably be resolved on a paper record.

United States v. Jimenez, 419 F.3d 34, 42 (1st Cir. 2005).

Criminal defendants are not entitled to evidentiary hearings as

a matter of course. See United States v. Panitz, 907 F.2d 1267,

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1273 (1st Cir. 1990) (“[A] criminal defendant has no absolute or

presumptive right to insist that the district court take

testimony on every motion.”).

    The defendant has not made a threshold showing that there

are any material facts in dispute.       The only thing in dispute is

whether the officers had reasonable suspicion or probable cause

based on those facts which has already been resolved on the

record.   An evidentiary hearing is therefore unwarranted.

                                 ORDER

    For the foregoing reasons, defendant’s motion to suppress

(Docket No. 40) is DENIED.



So ordered.



                                    /s/ Nathaniel M. Gorton______
                                    Nathaniel M. Gorton
                                    United States District Judge

Dated June 4, 2019




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